1    DIANNE C. KERNS, ESQ.
     CHAPTER 13 TRUSTEE
2    PMB #413
     7320 NORTH LA CHOLLA #154
3    TUCSON AZ 85741
     Telephone (520)544-9094
4    Fax (520)544-7894

5

6                             UNITED STATES BANKRUPTCY COURT

7                             IN AND FOR THE DISTRICT OF ARIZONA

8

9    In re:                                           )   CHAPTER 13 PROCEEDINGS
                                                      )
10   STACIE LYNN CAIN                                 )   Case No.: 4:16-bk-4438-SHG
                                                      )
11                                                    )   Application for Payment of Unclaimed
                                                      )   Funds to the U.S. Bankruptcy Court
12                                                    )
                                                      )
13                                                    )
                    Debtor                            )
14

15          Dianne C. Kerns, Standing Chapter 13 Trustee of the above-captioned bankruptcy
     estate, reports that the following dividend checks have been issued and returned as
16   undeliverable and/or remained uncashed, and that more than (90) days have elapsed from the
     dates of issuance:
17
     Check No.     Date Issued           Debtor/Creditor Name and Address            Amount
18
     350836        12/03/2018            JRB Enterprises, LLC                        $4903.95
                                         Guz Bruen Law Group PLLC
19
                                         10451 W. Palmeras Dr #250
20                                       Sun City, AZ 85373

21
                                                                       Total:        $4903.95
22
             The Trustee asks that an order be entered to Section 347(a) of the Bankruptcy Code
23   directing the Trustee to pay over the total amount of $4903.95 to the Clerk of the Court to be
     deposited in the registry thereof.
24

25   Dated: 03/20/2019
26

27                                                        /s/ Dianne C. Kerns, #011557
                                                          Dianne C. Kerns, Esq.
28
                                                          Chapter 13 Trustee

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